Case 1:21-cv-00219-DKW-WRP Document 1 Filed 05/04/21 Page 1 of 15                            PageID #: 1
                                                                                            FILED IN THE
                                                                                   UNITED STATES DISTRICT COURT
                                                                                        DISTRICT OF HAWAII
                                                                                   04 May 2021 944 AM lrs
                                                                                   Michelle
                                                                                   Michelle Rynne,          Court
                                                                                            Rynne, Clerk of Co u rt


                        IN THE UNITED STATES DISTRICT COURT                        .
                       FOR THE - - , - - - DISTRICT OF          /J-a   Wt.:L   j   4
                                      C; I
                                         t i DIVISION •
                           (Write the District and Division, if any, of
                           the court in which the complaint is filed.)



                                                         Complaint for Employment
                                                         Discrimination
           .
 (Write the full name of each plaintiffwho is filing     Case No. Civil 21-00219-DKW-WRP
 this complaint. If the names ofall the plaintiffs
                                                         (to be filled in by the Clerk's Office)
 cannot fit in the space above, please write ''see
 attached" in the space and attach an additional
                                                         Jury Trial:   D Yes D No
 page with the full list ofnames.)
                                                                       (check one)

     -against-

  Sf ~r     -p,.._DJ-e.c,h on A3uicy
                     A-I. Iµ
  A' /t't-ct. Un ,·vvs4
                      - -B-fa-k:J,
                            - -lYJ -·-~-+-+-u-         s
 (Write the full name of each defendant who is
 being sued. If the names ofall the defendants
 cannot fit in the space above, please write ''see
 attached" in the space and attach an additional
 page with the full list ofnames.)




                                                                                                                      I
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 I.    The Parties to This Complaint
       A.    The Plaintiff(s)

             Provide the information below for each plaintiff named in the complaint. Attach
             additional pages ifneeded.

                    Name
                    Street Address
                    City and County
                    State and Zip Code
                    Telephone Nwnber
                    E-mail Address

      B.     The Defendant(s)

             Provide the information below for each defendant named in the complaint,
             whether the defendant is an individual, a government agency, an organization, or
             a corporation. For an individual defendant, include the person's job or title (if
             known). Attach additional pages if needed.

             Defendant No. 1
                    Name
                    Job or Title
                    (if known)
                    Street Address          9 ':I IP S. /Jo -be.,/
                    City and County           /dvn 12 J vi s2
                    State and Zip Code
                    Telephone Number        802' 53d- - 3'1 I /
                    E-mail Address
                    (ifknown)

             Defendant No. 2
                    Name
                    Job or Title
                    (ifknown)
                    Street Address                                                I
                                                                                      .:tt=aoo
                    City and County


                                             2
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                   State and Zip Code
                   Telephone Number
                   E-mail Address        Sa.6 , :+hom,aJ:         @ a us. Can
                   (if known)

            Defendant No. 3
                   Name
                   Job or Title
                   (ifknown)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address
                   (ifknown)

            Defendant No. 4
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address
                   (ifknown)

      C.    Place of Employment
            The address at which I sought employment or was employed by the defendant(s)
            is:


                                                             Id r= s: -tL
                   Name
                   Street Address
                   City and County
                                              t
                                           \J-1)(\ ,,L, i I)
                                                                                    /5v,'k 2
                   State and Zip Code
                   Telephone Number

                            A\so
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 n.    Basis for Jurisdiction

       This action is brought for discrimination in employment pursuant to (check all that
       apply):

               /2          VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
                      to 2000e-l 7 (race, color, gender, religion, national origin).
                      (Note: In order to bring suit in federal district court under Title VlI, you
                      must first obtain a Notice ofRight to Sue letter from the Equal
                      Employment Opportunity Commission.)

              •       Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
                      §§ 621 to 634.

                      (Note: In order to bring suit in federal district court under the Age
                      Discrimination in Employment Act, you must first file a charge with the
                      Equal Employment Opportunity Commission.)

              •       Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
                      to 12117.
                      (Note: In order to bring suit infederal district court under the Americans
                      with Disabilities Act, you must first obtain a Notice ofRight to Sue letter
                      from the Equal Employment Opportunity Commission.)

              •       Other federal law (specify the federal law):


              •       Relevant state law (specify, ifknown):


              •       Relevant city or county law (specify, ifknown):


 IIL   Statement of Claim

       Write a short and plain statement of the claim. Do not make legal arguments. State as
       briefly as possible the facts showing that each plaintiff is entitled to the damages or other
       relief sought State how each defendant was involved and what each defendant did that
       caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted, number each claim
       and write a short and plain statement of each claim in a separate paragraph. Attach
       additional pages if needed.


                                                 4
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      A.    The discriminatory conduct of which I complain in this action includes (check all
            that apply):

                   D          Failure to hire me.
                   D          Termination of my employment.
                   D          Failure to promote me.
                   D          Failure to accommodate my disability.
                   ~          Unequal terms and condit!c;ms 9f ~ employment.
                   i;¥'       Retaliation.-rhq o.-Ll St«+eo          ~3'"jU(} on m,c ,
                   KV'      Olher acts (spectjy):     S'ex!½!l~           enf 1       Pb.j,51
                                                                                         o:f2._a:,w L-1
                            hutJY,nCi , df, .                                  J
                   (Note: Onty tltdse.troiindsraised in the charge filed with the Equal
                   Employment Opportunity Commission can be considered by the federal
                   district court under the federal employment discrimination statutes.}

      B.    It is my best recollection that the alleged discriminatory acts occurred on date(s)

               <\ - IC\ I I O ... i 9       J   l - hl        :±h   c~g,       q ::. ~
      C.    I believe that de~~t(s) (check one):
                          ,,,..
                   ~          is/are still committing these acts against me.
                   D          is/are not still committing these acts against me.

      D.    Defendant(s) discriminated against me based on my (check all that apply and
            explain):

                   ✓race              tl,Wef,4.1½
                   D          color
                   ✓          gendet
                                  - /-se_x _&_
                                             ,ddJ,
                                              __   a(?i
                                                    ___o_/_&,,r" t,utJrnPrJ
                   •   ~ligion
                   G:Y"' national origin ,           aa &-i    ·
                   iv--- age. My year of birth is /                     . (Give your year ofbirth
                              only ifyou are asserting cl · ofage discrimination.)
                   D          disability or perceived disability (specify disability)



      E.    The facts of my case are as follows. Attach additional pages if needed.



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             -~ ~       ~____:_i~~L_~~===-------+-='-,.__j~~~
                                                            ~~c..c
                                                               ~ ~W
             (Note: As additional support for the facts ofyour claim, you may attach to this
             complaint a copy ofyour charge filed with the Equal Employment Opportunity
             Commission, or the charge flied with the relevant state or city human rights
             division.)

 IV.   Exhaustion of Federal Administrative Remedies

       A.    It is my best recollection that I filed a charge with the Equal Employment
             Opportunity Commission or my Equal Employment Opportunity counselor
             regarding the defendant's alleged discriminatory conduct on (date)

                :Gii!: I I -       ;;;i...   o <9---0
       B.    The Equal Employment Opportunity Commission (check one):

                    D        h3§ not issued a Notice of Right to Sue letter.
                    ~         ssued a Notice of Right to Sue letter, which I received on (date)
                                                       1-dllJ o-/
                             (Note: Attach a copy ofthe Notice ofRight to Sue Jetter from the
                             Equal Employment Opportunity Commission to this complaint.)

       C.    Only litigants alleging age discrimination must answer this question.

             Since filing my charge of age discrimination with the Equal Employment
             Opportunity Commission regarding the defendant's alleged discriminatory
             conduct (check one):

                    • / / 60 days or more have elapsed.
                    r;:;r"   less than 60 days have elapsed.




                                                   6
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  V.    Relief

        State briefly and precisely what damages or other relief the plaintiff asks the court to
        order. Do not make legal arguments. Include any basis for claiming that the wrongs
        alleged are continuing at the present time. Include the amounts of any actual damages
        claimed for the acts alleged and the basis for these amounts. Include any punitive or
        exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
        actual or punitive money damages.




         ~        · I   ~--~✓       ~\(._,.
  VI.   Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
        knowledge, information, and belief that this complaint: (1) is not being presented for an
        improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
        cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
        extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support
        after a reasonable opportunity for further investigation or discovery; and (4) the
        complaint otherwise complies with the requirements of Rule 11.

        A.       For Parties Without an Attorney

                 I agree to provide the Clerk's Office with any changes to my address where case-
                 related papers may be served. I understand that my failure to keep a current
                 address on file with the Clerk's Office may result in the dismissal of my case.

                 Date of signing: ~                      20 ,?.,/    _

                 Signature of Plaintiff ~::::::_--0:::::..t.__~"-!:3,::_:__ ~ _ _ J . _ _ _ : _ . - \ --   - , - - --

                 Printed Name of Plaintiff




                                                            7
      Case 1:21-cv-00219-DKW-WRP Document 1 Filed 05/04/21 Page 11 of 15                                   PageID #: 11

'l' THE DlSTJUCT COURT OF THE FIRST CIRCUIT
            Ci vi'       I     DIVISION
              STATE OF HAWAl'I
.intiff




                                                                  Resei:ved for Court Use

                                                                  Civil No.


fendant . L"".. l,-: v- u / __ f _,                               Filing Party/Attorney Name, Attorney Number, Finn Name (if
       0      -rt,.,,   r r cJ-re,JJ.::n dh                       applicable), Address, and Telephone Number

                         ANO
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                                                          SUMMONS

lE STATE OF HAWAl'I:

): The Director of Public Safety of the State ofHawai'i, the Director's deputy, or any police officer or other person
tborized by the laws of the State ofHawai'i:

   This Summons shall not be personally delivered between 10:00 p.m. and 6:00 a.m. on premises not open to the public,
less a Judge permits, in writing on this Summons, personal delivery during those hours.

>THE DEFENDANT:
You are required to file a written answer or appear before the District Judge of this Court, in the Judge's Courtroom, on tl
y and at the time designated by the checked box on page 2. If the Defendant is a corporation or limited liability company,
.wai 'i law requires it to be represented by an attorney licensed to practice in the State of Hawai' i.

 lF YOU OR YOUR ATTORNEY FAIL TO ATTEND THE COURT HEARING AT THE TIME AND PLACE
~SIGNATED OR FILE A WRITTEN ANSWER A DEFAULT JUDGMENT WILL BETAKEN AGAINST YOU
)R THE RELIEF DEMANDED IN THE COMPLAINT.

)TICE TO PARTIES: (Honolulu Division only): If this case involves a residential lease and if the Defendant(s) disagrees
th the statements in the Complaint, the Court may require the parties to submit their dispute to mediation at the Pre-Trial
nference that will be scheduled on the Monday, not a holiday. If the Monday following your court date is a holiday, the Pn
ial conference will occur on the next business day. If the parties are not able to resolve the dispute within 20 minutes of
:diation, the Court will set a trial date.




te:                              Clerk
                                                                                                                  SEE PAGE:
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 EEOC Fom, 5 (11/09)



                                                                                                                •00
                       CHARGE OF DISCRIMINATION                                                               Charge Presented To:              Agency(ies) Charge No(s):
             Thf11 fonn Is affected by the Privacy Act of 1974. See enclosed Privacy Act                              FEPA
                     Statement and other lnformaUon befo,e completing 1hls form.
                                                                                                                      EEOC                          486-2021-00071
                                                             Hawarl Civil Rights Commission                                                                        and EEOC
                                                                           Sfafl, or /ocel Aaencv, if 1111y
 Name (Tnd/cats Mr•• Ms., Mia.)                                                                                       Home Phone (Incl. Ania Code)              Date of Birth

  Sharon HAGSTROM                                                                                                     8'-13~1.98-;o;U?;                            1972
 Street Address                                                                      City, S1ata and ZIP Code




 Named Is the Employer, Labor Organization, Employment Agency, Apprenttoeship Committee, or State or Local Government Agency That I Believe
 O,lscrimlnated Against Me or Others. ("more than two, list under PARTICULARS below.)
 Nam•                                                                                                                 No. Empioy.., Memllllnl     Phone No. (tndude AIH Code)
 STAR PROTECTION AGENCY                                                                                                    15 -100
 SCreet Adctrass                                                                     City, Slate and ZIP Code

 846 S Hotel Streat, Honolulu, HI 96813

 Name                                                                                                                 NII. Em~, Memb1n1           Phone No. {Include AtH Code)


 Stnet Addreas                                                                       City. Slate and ZIP Code




 OISCRJMINATION BASED ON (Check 11ppl0J)lfat9 box(N).)                                                                         DATE(S) DISCRIMINATION TOOK Pl.ACE

  [X) RACE•                                 [Kl SEX
                                                    • •                          • •                                                 Eattlest              l.atast



        •• •                                                                                                                      06-01-2020                 07-13-2020
                             COLOR                                      RELIGION                 NATIONAL ORIGIN

               RETALIATION
                        OTHER (Specffy}
                                           AGE               OISAB!llTY


 THE PARTICULARS ARE (If addltion8J paper Is tlHdlJd, attach extta shNt(s)):
                                                                                            GENETICINFORMATION

                                                                                                                                       •        CONTINUING ACTION


  In June 2020, I began working for Respondent as a Security Guard. On the second day of my
  training, president of company President Robin LNU {White male, aged SO's) saw me and asked,
  'What are you doing here?• He also told me ''We do not do anything illegal here at this agency." I did
  not understand the reasoning for his statement.

   Between 6/2020 and 7/2020, a male driver (name unknown) for the company engaged me in
   conversation about the types of women he dates and enjoys sex with. I objected to the male's
   sexually Inappropriate comments.

  I believe Respondent discriminated against me because of my sex (female) and race (White) In
  violation of Title VII of the Civil Rights Act of 1964, as amended.


 I want this charge filed with both the EEOC and the State or local Agency, If any. I            NOTARY - When      fl9Cf1SS8IY fat State and L.oca( Agency R9quit&mentlt
 wm advise the agencies if I change my addresa or phone number and I wi1
 cooperate fuly with them in the processing of my charge in aocordance with their
~ proc:a
    _ du _ rea
            _ ._ _ _ _ _ _ __ _ _ _ _ _ __ _ _ _ _ I swear or affirm that I have read lhe above charge and that It Is true to
  I declare under penalty of perjury that the above is true and correct. Iha bast of my knowledge, Information and belief.
                                                                                                 SIGNATURE OF COMPLAINANT



                                                                            -    -      -   -t-f.:::
                                                                                                 SU=: 5-. RIBEO AND SWORN TO BEFORE ME llllS DATE
                                                                                                     BSC
                                                                                                 (month,-day, , - )
    Case 1:21-cv-00219-DKW-WRP Document 1 Filed 05/04/21 Page 13 of 15                                              PageID #: 13


Rhonda



Rhonda Akima Mayo
Investigator - Honolulu Office

Equal Employment Opportunity Commision

Prince Jonah Kuhio Kalanianaole Federal Bldg

300 Ala Moana Blvd, Suite 4-257

Honolulu, Hawaii 96850



IMPORTANT/CONFIDENTIAL: This e-mail is from the United States Equal Employment Opportunity Commission and contains
information which may be confidential, privileged, and/or exempt from disclosure under applicable law. If you are not the
addressee, you are hereby notified that the any unauthorized review, use, copying, disclosure or distribution of any information or
materials transmitted in or with this message is strictly prohibited. If you are not the intended recipient, please immediately notify
me, the sender, by replying to this email, then promptly destroy the original message. If you are the intended recipient but do not
wish to receive communications through this medium, please so advise the sender immediately. Thank you.
At this time, in response to health concerns regarding the coronavirus, all interviews will be conducted by telephone. Please do not
report to the office in-person.
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                                     Honolulu, ffawaf? 96813
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 Initial Officer:
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For more information an abtOlnlnfl reports, verlflctklon leUet.\JBiilf..... ..,,~ ,,.,.
the Records and Identification Division at (BOB) 113-J25B. ~~ , _ , _ , .:
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